                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

                                 CIVIL MOTION HEARING



 Mildred Baldwin and Ronald Struckhoff, on                    COURT MINUTES
 behalf of themselves and others similarly                  BEFORE: Hildy Bowbeer
 situated,                                                   U.S. Magistrate Judge

                       Plaintiffs,                    Case No.:         20-cv-1502 (JRT/HB)
                                                      Date:             November 16, 2020
 v.                                                   Location:         Via ZoomGov
                                                      Court Reporter:   Lori Simpson
 Miracle-Ear, Inc.,                                   Time:             10:00 a.m. – 10:36 a.m.
                                                                        (36 minutes)
                       Defendant.


APPEARANCES:
For Plaintiffs: Catherine Smith, Anthony Paronich
For Defendant: Erin Hoffman, Nathan Brennaman
Also present: Sarah Gorsuch (in-house counsel for Miracle-Ear)

PROCEEDINGS:
The Court held a hearing on Defendant’s Motion to Stay Proceedings [ECF No. 14] and
Plaintiffs’ Motion for Rule 16 Case Management Conference and to Permit the Issuance of a
Subpoena [ECF No. 22]. The Court denied Defendant’s Motion to Stay Proceedings and granted
Plaintiff’s motion insofar as it sought to compel a Rule 26(f) and Rule 16 conference, but denied
as moot Plaintiff’s motion insofar as it sought permission to issue subpoenas to non-parties who
were subsequently added as parties to the case.

The Court will issue an order scheduling a Rule 16 conference for December 2020. The parties
should proceed with their Rule 26(f) conference as soon as practicable after counsel appears for
the recently added Defendants even if those Defendants are granted an extension of time to
answer or otherwise respond to the Amended Complaint. The Court instructed the parties to
meet and confer during the Rule 26(f) conference about ways to structure fact and expert
discovery efficiently in view of the pending decision in Facebook v. Duguid, No. 19–511, 2020
WL 3865252 (2020).


                                                                 s/ Erin Emory
                                                                 Judicial Law Clerk
